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The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases,these forms use you to ask for information from both debtors. For example, if a form asks,"Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. If
more space is needed,attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.



           Identify Yourself

                                    About Debtor 1:                                               About Debtor 2(Spouse Only In a Joint Case):

1.   Yourfullname

      Write the name that is on     Carmen
      your government-issued        First name                                                    First name
      picture identification (for
     example, your driver's         Victoria
     license or passport).
                                    Middle name                                                   Middle name

      Bring your picture
     identification to your         Valladares-Egan
      meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                      Last name and Suffix (Sr., Jr., II, III)




      All other names you have
      used In the last 8 years Carmen Victoria Egan
     Include your married or
      maiden names.




3.   Only the last 4 digits of
     your Social Security
     number or federal
                                    xxx-xx-4671
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy
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Debtor 1    Carmen Victoria Valladares-Egan                                                          Case number (ifknown)




                                 About Debtor 1:                                               About Debtor 2(Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers(EIN) you have           I have not used any business name or EINs.                □ I have not used any business name or EiNs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:


                                 4337 W. 170th Street
                                 Lawndale, OA 90260
                                 Number, Street. City. State & ZIP Code                        Number. Street. City. State & ZIP Code

                                 Los Angeles
                                 County                                                        County

                                 if your mailing address is different from the one             if Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number. P.O. Box. Street. City. State & ZIP Code              Number. P.O. Box. Street. City. State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     ba^ikruptcy                 B      Over the last 180 days before filing this petition.    □      Over the last 180 days before filing this petition. I
                                        I have lived in this district longer than in any              have lived in this district longer than In any other
                                       other district.                                                district.


                                 □      I have another reason.                                 □      I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Carmen Victoria Valladares-Egan                                                             Case number (if known)



           Tell the Court About Your Bankruptcy Case

     The chapter of the         Check one.(For a brief description of each, see Notice Required by 11 U.S.C.§ 342(b)for individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under   _
                                ■ Chapter?
                                □ Chapter 11
                                □ Chapter 12
                                □ Chapter 13


8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                       about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                       order. If your attomey is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                       a pre-printed address.
                                       I need to pay the fee In Installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                       The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                       but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                       applies to your fomily size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                       the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



     Have you filed for         ■ No.
     bankruptcy within the
     last 8 years?              □ Yes.
                                            District                                  When                            Case number

                                            District                                  When                             Case number

                                            District                                  When                            Case number




10. Are any bankruptcy          ■ No
    cases pending or being
    filed by a spouse who Is    □ Yes.
    not filing this case with
    yoM, or by a business
    partner, or by an
     affiliate?
                                            Debtor                                                                   Relationship to you
                                            District                                  When                           Case number. If known
                                            Debtor                                                                   Relationship to you
                                            District                                  When                           Case number, if known



11. Do you rent your            ■ No.
                                             Go to line 12.
     residence?
                                □ Yes.       Has your landlord obtained an eviction judgment against you?
                                             □         No. Go to line 12.

                                             □         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101 A) and file it as part of
                                                       this bankruptcy petition.




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
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Debtor 1    Carmen Victoria Valladares-Egan                                                               Case number (if known)



           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.      Go to Part 4.
    business?

                                  □ Yes.      Name and location of business

    A sole proprietorship is a
    business you operate as                   Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.
    if you have more than one                 Number, Street, City, State & ZIP Code
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                       Check the appropriate box to describe your business:
                                               n      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               □      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                               □      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               □      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               □      None of the above

13. Are you filing under          If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the             proceed under Subchapter V so that It can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and          you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business      cash-flow statement, and federal income tax return or If any of these documents do not exist, follow the procedure In 11 U.S.C.
    debtor or a debtor as         § 1116(1 )(B).
    defined by 11 U.S.C. §
    1182(1)?
                                  ■ No.       I am not fiiing under Chapter 11.
    For a definition of small
    business debtor, see 11
                                  □ No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    U.S.C. § 101 (51D).
                                              Code.


                                  □ Yes.      I am filing under Chapter 11, 1 am a small business debtor according to the definition in the Bankruptcy Code, and
                                              I do not choose to proceed under Subchapter V of Chapter 11.

                                  □ Yes.      I am filing under Chapter 11, 1 am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                              choose to proceed under Subchapter V of Chapter 11.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

    Do you own or have any        ■ No.
    property that poses or Is
    alleged to pose a threat      □ Yes.
    of imminent and                         What is the hazard?
    Identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                     If immediate attention is
    Immediate attention?                    needed, why is it needed?

    For example, do you own
    perishable goods, or
    livestock that must be fed,             Where is the property?
    or a building that needs
    urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                            Voluntary Petition for individuals Filing for Bankruptcy                                                   page4-.
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Debtor 1     Carmen Victoria Valladares-Egan                                                          Case number (if known)

            Explain Your Efforts to Receive a Briefing About Credit Counseling

                                    About Debtor 1:                                               About Debtor 2 (Spouse Only In a Joint Case):
15. Tell the court whether          Ybu must check one:                                           You must check one:
    you have received a             B   1 received a briefing from an approved credit             □   I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before 1                counseling agency within the 180 days before 1 filed
    counseling.                         filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                    completion.
    The law requires that you
    receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan. If
    credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check       □   1 received a briefing from an approved credit             □   1 received a briefing from an approved credit
    orie of the following               counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    choices. If you cannot do           filed this bankruptcy petition, but 1 do not have             this bankruptcy petition, but I do not have a certificate
    so, you are not eligible to         a certificate of completion.                                  of completion.
    file.
                                        Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
    If you file anyway,the court        petition, you MUST file a copy of the certificate and         MUST fi le a copy of the certificate and payment plan, if
    can dismiss your case, you          payment plan, if any.                                         any.
    will lose whatever filing fee
    you paid, and your              □   I certify that I asked for credit counseling              □   1 certify that 1 asked for credit counseling services
    creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
    collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                        days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                        circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                        of the requirement.
                                                                                                      To ask for a 30-day temporary waiver of the requirement,
                                        To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                        requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                        what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                        you were unable to obtain it before you filed for             circumstances required you to file this case.
                                        bankruptcy, and what exigent circumstances
                                        required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                      with your reasons for not receiving a briefing before you
                                        Your case may be dismissed if the court is                    filed for bankruptcy.
                                        dissatisfied with your reasons for not receiving a
                                        briefing before you fi led for bankruptcy.                    If the court is satisfied with your reasons, you must still
                                        If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                        still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                        You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                        agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                        developed, if any. If you do not do so, your case
                                                                                                      Any extension of the 30-day deadline is granted only for
                                        may be dismissed.
                                                                                                      cause and is limited to a maximum of 15 days.
                                        Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15
                                        days.
                                    □   I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                        credit counseling because of:                                 counseling because of:

                                        □     Incapacity.                                             □      incapacity.
                                              I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                              that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                              making rational decisions about finances.                      decisions about fi nances.

                                        □     Disability.                                             □      Disability.
                                              My physical disability causes me to be                         My physical disability causes me to be unable to
                                              unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                              by phone, or through the intemet, even after I                 through the intemet, even after I reasonably tried to
                                              reasonably tried to do so.                                     do so.


                                        □     Active duty.                                            □      Active duty.
                                              I am currently on active military duty in a                    I am currently on active military duty in a military
                                              military combat zone.                                          combat zone.

                                        If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                        briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                        motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 5
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            Carmen Victoria Valladares-Eaan                                                              Case number ptkmwt^

           Answer These Questions for Reporting Purposes
16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumw debts are defined in 11 U.S.C. g 101(8)as Incurred by an
    you have?                              indivlduBl primarlty for a personal,family, or household purpose."
                                            □ No. Go to line 16b.
                                            fl Ya8.Qo(oBne17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you inctared to obtain
                                            money for a business or investment or through the operation of the bu^ness or investment
                                            □ No. Go to fine 16c.
                                           □ Yes. Go to ilna 17.
                                 16a       State the type of debts you owe that are not consumer debts or business debts


17. Are you filing under         □ No.     I ani not filing under Chapter 7. Go to line 16.
     Chapter 7?

     Do you estimate that        I Yes     '      ^^"9 undsr Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property Is excluded and
     administrative expanses                ■ no
     are paid that hrnds will
     bs available for                      □ Yes
     distribution to unsecured
     creditors?


18. How many Creditors do        ■ 1-49                                          □ 1,000-5,000                               □ 25,00140,000
     you estimate that you
     owe?                        □ 60-99                                         □ 5001-10,000                               □ 50,001-100,000
                                 O 100-199                                       □ 10,001-25,000                             □ Morethan100,000
                                 □ 200499

19| How much do you              □ $0-$50,000                                    □ $1,000,001-$10 million                    □ $500,000,001 .$1 billion
    estimate your assets to
     be worth?
                                 □ $50,001-$100,000                              □ $10,000,001-$50 million                   □ $1,000,000,001 - $10 billion
                                 □ $100,001 .$500,000                            □ $50,000,001 - $100 mlltlon                □ $10,000,000,001 - $50 billion
                                 ■ $500,001-61 million                           □ $100,000,001 - $500 mnitcn                □ More than $ro billion

20. How much do you              □ $0-$50,000                                    □ $1,000,001-$10 minion                     □ $500,000,001-$1 billion
    estimate your liabilities    □ $50,001 .$100,000
    to be?
                                                                                 □ $10,000,001 - $60 milBon                  □ $1,000,000,001-$10 billion
                                 □ $100,001-$500,000                             □ $50,000,001 - $100 milfion                □ $10,000,000,001-$50 billion
                                 ■ $500,001-$1 mlfiion                           □ $100,000,001 - $500 million               □ More than $50 union

          I Sign Below

Per you                          I have examined this petition, and 1 declare under penalty of perjury that the Information provided Is tnre and correct

                                 If I have chosen to file under Chapter 7,1 am aware that I may proceed. If eligible, under Chapter 7,11,12, or 13 of fitle 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and i did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and reed the notice required by 11 U.S.C. § 342(b).

                                 I request relief In accordance with the chapter of title 11, United States Code, specified In this petlOon.

                                 I understand making a felse statement, concealing property, or obtaining money or property by fraud In conner^on with a
                                 bankruptcy case ragjcggulUn fines up to $260,000, or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519,
                                 an£


                                 Carmen VIctorl               ares-Egan                           Signature of Detrtcr 2
                                 Signature of Debtor 1

                                 Executed on      October 26.2021
                                                  MM/ DD/YYYY
                                                                                                  Executed on      ///a)/SOS/
                                                                                                                   MM7DD7YYYY




Offidat Form 101                               Voluntary Petition for individuals Filing for Bankruptcy
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Debtor 1   Carmen Victoria Valladares-Egan                                                                Case number (if known)




For your attorney, if you are   I. the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s)about eligibility to proceed
represented by one              under Chapter 7,11,12, or 13 of title 11, United States Code,and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s)the notice required by 11 U.S.C.§ 342(b)
If you are not represented by   and,in a case in which § 707(b)(4)(D)applies, certify that I have no knowledge after an inquiry that the infonnation in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                Isl Daniel King                                                    Date         October 26. 2021
                                Signature of Attomey for Debtor                                                 MM/DD/YYYY


                                Daniel King
                                Printed name

                                The Attorney Group
                                Firm name

                                3435 Wilshire Blvd
                                Suite 1111
                                Los Angeies. OA 90010
                                Numtier, Street, City, State &ZIP Code

                                Contact ptione     213-388-3887                              Email address        dkingfStheattorneygroup.com
                                207911 OA
                                Bar number & State




Official Form 101                                Voluntary Petition for individuals Filing for Bankruptcy                                               page 7
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                                            STATEMENT OF RELATED CASES
                                         INFORMATION REQUIRED BY LBR1015-2
              UNITED STATES BANKRUPTCY COURT,CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person In control, as follows:(Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and. If not, the disposition thereof. If none, so indicate. Also, list any real property
   Included in Schedule /\/B that was filed with any such prior proceeding(s).)
Spouse filed diapter 7 bankruptcy on 7/1Z/2011. Case #2;2011bk39747. Closed 11/28/2011.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
    Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner In the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership In which the
    debtor Is a general partner, general partner of the debtor, or person in control of the debtor as follows:(Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and. If not, the disposition thereof. If none, so Indicate. Also, list
    any real property Included in Schedule /V/B that was filed with any such prior proceeding(s).)
 None

3. (If petitioner Is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
    previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person In control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person In control of the debtor, or any persons,firms
   or corporations owning 20% or more of its voting stock as follows:(Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
    A/B that was filed with any such prior proceedlngfs).)
 None

4. (if petitioner Is an Individual) A petition under the Bankruptcy Reform Act of 1978, Including amendments thereof, has
    been f9ed by or against the debtor within the last 180 days:(Setforth the complete number and title of each such prior
    proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
    pending, and If not, the disposition thereof. If none, so Indicate. Also, list any real property Included In Schedule A/B
    that was filed with any such prior proceedlngfs).)
 None

I declare, under penalty of perjury, that the foregoing Is true and correct.
Executed at Lawndale,CA                                         ,California.
                                                                                                  Carmen Victoria'V&HastSFes-Egan
Date:           October 2$.2021                                                                   Signature of Debtor 1



                                                                                                   Signature of Debtor 2




                 This form Is meodatory. It has baen approved for use in the United States Bankruptcy Court for the Central District of CaGfomia.
Ocfober2016                                                            Pagol                F 1015-2.1.STMT.RELATED.CASES
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Debtor 1                 Carmen Victoria Valladares-Egan
                         Rrst Name                          Middle Name

Debtor 2
(Spouse If, filing)


United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                        □ Check if this is an
                                                                                                                                    amended filing



Official Form 106Sum
Summarv of Your Assets and Liabilities and Certain Statistical Information                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

               Summarize Your Assets

                                                                                                                                       j Your assets
                                                                                                                                       ^Value of what you own
 1.     Schedule A/B: Property (Official Form 106A/B)
        la. Copy line 55, Total real estate, from Schedule A/B.

        1 b. Copy line 62, Total personal property, from Schedule A/B.

        1 c. Copy line 63, Total of all property on Schedule A/B.

               Summarize Your Liabilities

                                                                                                                                       [Your liabilities
                                                                                                                                       ^-Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...
 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.                                 *
        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.                              $


                                                                                                          Your total liabilities I $               610.129.00


               Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule I..

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J

                Aii'iWiii These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7,11, or 13?
         □      No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.


 7.     What kind of debt do you have?

         B Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, family, or
                household purpose." 11 U.S.C. § 101(8). Fill outlines 8-9g for statistical purposes. 28 U.S.C. § 159.

         □      Your debts are not primarily consumer debts. You have nothing to report on tfiis part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                 Summary of Your Assets and Liabilities and Certain Statistical Information                               page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.l>estcase.com                                                                            Best Case Bankruptcy
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 Debtor 1      Carmen Victoria Valladares-Egan                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR,Form 122B Line 11; OR,Form 122C-1 Line 14.                                                                5,968.53


 9.    Copy the following special categories of claims from Part 4,line 6 of Schedule E/F:



       9a. Domestic support obligations(Copy line 6a.)                                                                  0.00

       9b. Taxes and certain other debts you owe the govemment.(Copy line 6b.)                                          0.00

       9c. Claims for death or personal injury while you were intoxicated.(Copy line 6c.)                               0.00

       9d. Student loans.(Copy line 6f.)                                                                                0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims.(Copy line 6g.)                                                            $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts.(Copy line 6h.)         +$                 0.00



         ). Total. Add lines 9a through 9f.                                                                           0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
Software Copyright(c)1936-2021 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 2:21-bk-18416-BR                           Doc 1 Filed 11/03/21 Entered 11/03/21 13:00:16                                          Desc
                                                            Main Document    Page 11 of 62
 Fifl in this information to identify your case and this filing:

 Debtor 1                   Carmen Victoria Valladares-Egan
                            Rrst Name                       Middle Name

 Debtor 2
(Spouse, if filing)

 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                    D   Check if this is an
                                                                                                                                                    amended filing



Official Form 106A/B

In each category,separately list and describe Items. List an asset only once. If an asset fits in more than one category, list the asset In the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

            Describe Each Residence, Building, Land,or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable Interest in any residence, building, land, or similar property?

   □ No. Go to Part 2.
   H Yes. Where is the property?



                                                                    What Is the property? Check all that apply
       4337 W 170th St                                                I Single-family home                            Do not deduct secured claims or exemptions. Put
       street address, if available, or other description                                                             the amount of any secured claims on Schedule D:
                                                                      Q Duplex or multi-unit building
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                      r-i Condominium or cooperative

                                                                      □ Manufactured or mobile home
                                                                                                                      Current value of the      Current value of the
        Lawndale                         CA         90260-0000        □ Land                                          entire property?          portion you own?
                                                                      P Investment property                                  $983,900.00                $983,900.00
                                                                      P Timeshare
                                                                                                                      Describe the nature of your ownership interest
                                                                      P Other                                         (such as fee simple, tenancy by the entireties, or
                                                                    Who has an Interest In the property? Check one    a life estate), If known.
                                                                      H Debtor 1 only                                 Equitable Interest
        Los Angeles                                                   P Debtor 2 only
        County                                                        P Debtor 1 and Debtor 2 only
                                                                                                                       m   Check if this Is community property
                                                                      P At least one of the debtors and another            (see instructions)
                                                                    Other Information you wish to add about this item, such as local
                                                                    property Identification number:

                                                                    FMV per Zillow; purchased In 1991



 2.1 Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   I pages you have attached for Parti. Write that number here                                                                                       $983,900.00


|^n|« Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Fonn 106A/B                                                      Schedule A/B: Property
Software Copyrigt^t (c) 1996-2021 Best Case, LLC-wvm.bestcase.com                                                                                       Best Case Bankruptcy
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 Debtor 1         Carmen Victoria ValladareS'Egan                                                               Case number (Ifknown)

3. Cars, vans,trucks,tractors,sport utility vehicles, motorcycles

   □ No
   B Yes


  3.1    Make:       Hyundai                                   Who has an interest In the property? Check one         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
         Model:      Accent                                    B Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:     2016                                        D Debtor 2 only                                         Current value of the     Current value of the
         Approximate mileage:                      SBK         □ Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                    D At least one of the debtors and another
         FMV per KBB
                                                               D Check if this is community property                            $7,914.00                  $7,914.00
                                                                     (see instructions)



  3.2    Make:       Honda                                     Who has an interest in the property? Check one         Do not deduct secured claims or exemptions. Put
                                                                                                                      the amount of any secured claims on Schedule D:
         Model:      CRV                                       B Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:       2006                                      D Debtor 2 only                                        Current value of the      Current value of the
         Approximate mileage:                    200K          D Debtor 1 and Debtor 2 only                           entire property?          portion you own?
         Other information:                                    D At least one of the debtors and another
         FMV per KBB
        Debtor owns free and clear                             □ Check if this is community property                            $1,439.00                  $1,439.00
        Poor condition                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   ■ No
   □ Yes                                                                                  ^     -     ~



 5 Add the doiiar value of the portion you own for all of your entries from Part 2, including any entries for
    .pages you have attached for Part 2. Write that number here                                                                  »>                    $9,353.00

           Describe Your Personal and Househoid Hems
 Do you own or have any legal or equitable Interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    □ No
    I Yes. Describe

                                     Household Furniture and Electronics
                                    Stove, fridge, TV, cookware, bedroom, living room furniture,
                                    accessories etc.                                                                                                          $870.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                   Including cell phones, cameras, media players, games
    ■ No
    □ Yes. Describe

8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
    ■ No
    □ Yes. Describe


Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 2
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            Case 2:21-bk-18416-BR                            Doc 1 Filed 11/03/21 Entered 11/03/21 13:00:16                           Desc
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Debtor 1        Carmen Victoria Valladares-Egan                                                         Case number (ifknown)

9. Equipmentfor sports and hobbles
    Examples:Sports, photographic, exerdse, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                  musical instruments
    ■ No
    □ Yes. Describe

10. Firearms
      Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    ■ No
    □ Yes. Describe

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    □ No
    B Yes. Describe

                                     All Clothes                                                                                                 $150.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    □ No
    B Yes. Describe

                                     Misc. Jewelry                                                                                               $600.00


13. Non-farm animals
      Examples: Dogs, cats, birds, horses
    ■ No
    □ Yes.-J3escribe

14. Any other personal and household Items you did not already list, including any health aids you did not list
    ■ No
    □ Yes. Give specific information

 15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached
       for Part 3. Write that number here
                                                                                                                                          $1,620.00


           Describe Your Financial Assets

 Do you own or have any legal or equitable interest In any of the following?                                                    Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    □ No
        Yes.


                                                                                                           Cash                                      $5.00


17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in aedit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each.
    □ No
    g Yes                                                                 Institution name:


                                       17.1.                              Bank of America Account #0383                                          $607.47




Official Form 106A/B                                                  Schedule A/B: Property                                                         pages
Software Copyright (c) 1996*2021 Best Case, LLC - www.t)estc3se.com                                                                       Best Case Bankruptcy
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 Debtor 1       Carmen Victoria Valladares-Egan                                              ■ '-■            Case number ffffcnown;
                                                                            Chase Account #0753
                                                                            on account with Father Armando,who lives in
                                      17.2.                                 Honduras,source is SS benefits                                                $0.00

18. Bonds, mutual funds,or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    ■ No
    □ Yes                                     Institution or Issuer name:

19. Non-publicly traded stock and Interests In Incorporated and unincorporated businesses. Including an interest in an LLC, partnership, and
      joint venture
    ■ No
    □ Yes. Give specific Information about them
                                          Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable Instruments
    Negotiable instruments Include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   ■ no
    □ Yes. Give specific Information about them
                                          Issuer name:


21. Retirement or pension accounts
      Examples: Interests In IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    ■ No
    □ Yes. List each account separately.
                                      Type of account:                      Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examp/es; Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies,-or others
    ■ No
    □ Yes                                                                   Institution name or Individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   ■ no
    □ Yes                       Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1). 529A(b), and 529(b)(1).
    ■ no
    □ Yes                       Institution name and description. Separately file the records of any lnterests.11 U.S.C. § 521(c):

25. Trusts, equitable or future Interests in property (other than anything listed In line 1), and rights or powers exerclsable for your benefit
    ■ No
    □ Yes. Give specific Information about them...
26. Patents, copyrights, trademarks, trade secrets, and other inteilectual property
     Examples: Intemet domain names, websites, proceeds from royalties and licensing agreements
    ■ No
    □ Yes. Give specific Information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    ■ no
    □ Yes. Give specific Information about them...
 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.




Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
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Debtor T       Carmen Victoria Valladares-Egan                                                         Case number (ifknown)

28. Tax refunds owed to you
   ■ No
   □ Yes. Give specific information about them, including whether you already filed the retums and the tax years.


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   H No
   □ Yes. Give specific infbrmation

30. Other amounts someone owes you
     Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation. Social Security
                   benefits; unpaid loans you made to someone else
   ■ No
   □ Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   ■ No
   □ Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                         Beneficiary:                            Surrender or refund
                                                                                                                                      value:


32. Any Interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
     someone has died.
   ■ No
   □ Yes. Give specific information..

33. Ciaiins against third parties, whether or not you hayofiled-aiawsultor rnade-a demand-fer-payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   ■ no
   □ Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    ■ No
    □ Yes. Describe each claim

35. Any financial assets you did not already list
    ■ No
    □ Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
                                                                                                                                                 $612.47
      for Part 4. Write that number here


          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest In any business-related property?
   ■ No. Go to Part 6.
   □ Yes. Go to line 38.



          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          if you own or have an Interest In farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest In any form- or commercial fishing-related property?
     ■ No. Go to Part 7.
      D Yes. Go to line 47.


                Describe All Property You Own or Have an Interest in That You Did Not List Above

Official Form 106A/B                                                Schedule A/B: Property                                                               page 5
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 Debtor 1       Carmen Victoria Valladares-Egan                                                      Case number (ifknown)


53. Do you have other property of any kind you did not already list?
     Examples:Season tickets, country club membership
    □ No
    B Yes. Give specific information

                                        Cellphone                                                                                          $500.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                   $500.00

              List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                               $983,900.00
 56. Part 2: Total vehicles, line 5                                                   $9.353.00
 57. Part 3: Total personal and household Items, line 15                              $1.620.00
 58. Part 4: Total financial assets, line 36                                            $612.47
 59. Part 5: Total business-related property, line 45                                     $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                              $0.00
 61. Part 7: Total other property not listed, line 54                                   $500.00

 62. Total personal property. Add lines 56 through 61...                             $12,085.47     Copy personal property total       $12,085.47

 63. Total of ail property on Schedule A/B. Add line 55            line 62                                                         $995,985.47




Official Form 106A/B                                               Schedule A/B: Property                                                      pages
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                           Carmen Victoria Valladares-Egan
                           Rrst Name                      Middle Name

Debtor 2
(Spouse If. filing)

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number            •
(if known)
                                                                                                                                    □ Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. Using
the property you listed on Schedule AJB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt, if more space is
needed, fill out and attach to this page as many copies ot Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if knovwi).

For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

                Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even If your spouse is filing with you.

      H You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      n You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the Information below.
      Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

      4337 W 170th St Lawndale, CA 90260                           $983,900.00                              $400,990.00      C.C.P. § 704.730
      Los Angeles County
      FMV per Zillow; purchased in 1991                                             D 100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                        any applicable statutory limit


      2016 Hyundai Accent 56K miles                                  $7,914.00                                 $3,174.00     C.C.P. § 704.010
      FMV per KBB
      Line from Schedule A/B: 3.1                                                   n 100% of feir market value, up to
                                                                                         any applicable statutory limit

      2006 Honda CRV 200K miles                                      $1,439.00                                   $151.00     C.C.P.§ 704.010
      FMV per KBB
      Debtor owns free and clear                                                    D    100% of feir market value, up to
      Poor condition                                                                     any applicable statutory limit
      Line from Schedule AJB: 3.2


      Household Furniture and Electronics                               $870.00                                  $870.00     C.C.P. § 704.020
      Stove, fridge, TV, cookware,
      bedroom, living room furniture,                                               n 100% of fair market value, up to
      accessories etc.                                                                   any applicable statutory limit
      Line from Schedule A/B: 6.1


      Ail Clothes                                                       $150.00                                  $150.00     C.C.P. § 704.020
      Line from Schedule A/B: 11.1
                                                                                    O 100% of feir market value, up to
                                                                                         any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Carmen Victoria Valladares-Egan                                                              Case number(if known)

     I Brief description of t|ie property and line on            Current value of the   Amount of the exemption you claim .       Specific laws that allow exemption
    'Schedule AS thai lists this property                        portion you own
                                                                 Copy the value from    Check only one box for each exemption:
                                                                 Schedule AS

      Misc. Jewelry                                                        $600.00                                  $600.00       C.C.P.§ 704.040
      Line from Schedule A/B: 12.1
                                                                                             100% oftair market value, up to
                                                                                             any applicable statutory limit

      Cash                                                                                                        $5.00           C.C.P.§ 704.070
                                                                              $5.00
      Line from Schedule A/B: 16.1
                                                                                        n 100% of fair market value, up to
                                                                                             any applicable statutory limit

      Bank of America Account #0383                                                                                 $607.47       C.C.P.§ 704.070
                                                                           $607.47
      Line from Schedule A/5:17.1
                                                                                        ^ 100% of fair market value, up to
                                                                                             any applicable statutory limit

     Chase Account #0753                                                                                               $0.00      C.C.P.§ 704.070
                                                                              $0.00
     on account with Father
      Armando,who lives In Honduras,                                                    ^ 100% of fair market value, up to
     source Is SS benefits                                                                   any applicable statutory limit
     Line from Schedule A/B: 17.2


      Cellphone                                                            $500.00                                  $500.00       C.C.P.§704.020
      Line from Schedule A/B: 53.1
                                                                                        n 100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      □     No
      ■     Yes. Did you acquire the property covered by the exemption within 1,215 days before you fiied this case?
            ■       No

            □       Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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 Debtor 1                   Carmen Victoria Valladares-Egan
                            First Name                       Middle Name

 Debtor 2
I (Spouse if, filing)
 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                                    □ Check if this Is an
                                                                                                                                                amended filing


Official Form 1Q6D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

       G No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       H Yes. Fill in all of the information below.
iBliiM * '''*              Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors In Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor's name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
12.1 I Brldgecrest                                  Describe the property that secures the claim:                 $4,740.01
                                                                                                                  $4,740.00                $7,914.00                  $0.00
         Creditor's Name
                                                   2016 Hyundai Accent 56K miles
                                                   FMV per KBB
                                                   As of the date you file, the claim is: Check all that
         Po Box 29018                              apply.
         Phoenix, AZ 85038                          G Contingent
         Number, Street, City. Slate & Zip Code     G Unliquidated
                                                    G Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.

 ® Debtor 1 only                                    G An agreement you made (such as mortgage or secured
                                                        car loan)
 G Debtor 2 only
 G Debtor 1 and Debtor 2 only                       G statutory lien (such as tax lien, mechanic's lien)
 G At least one of the debtors and another          G Judgment lien from a lawsuit
 G Check if this claim relates to a                 ® Other (Including a right to offset)   Purchase Money Security
       community debt

                                 Opened
 Date debt was incurred          09/18                      Last 4 digits of account number        2801




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
Software Copyrigtit (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
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Debtor 1 Carmen Victoria Valladares-Egan                                                                 Case number (if known)
             Rrst Name                  Middle Name                     Last Name



2.2 Shellpoint                                   Describe the property that secures the ciaim:                 $582,910.00          $983,900.00                 $0.00
       Credltof's Name
                                                 4337 W 170th St Lawndale, OA
                                                 90260 Los Angeles County
                                                 FMV perZillow; purchased in 1991
                                                 As of the date you fiie, the ciaim is: Check ail that
       55 Beattie Place                          apply.
       Greenville, SO 29601                      D Contingent
       Number,Street. City, State & Zip Code     D Unliquidated
                                                 D Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
® Debtor 1 only                                  □ An agreement you made (such as mortgage or secured
                                                      car loan)
D Debtor 2 only
D Debtor 1 and Debtor 2 only                     D Statutory lien (such as tax Hen, mechanic's lien)
D At least one of the debtors and another        D Judgment lien from a lawsuit
D Check if this ciaim reiates to a               B Other (including a right to offset) Mortgage
     community debt

                              Opened
Date debt was incurred        2/26/07                     Last 4 digits of account number        7322


  jAdd the doilar vaiue of your entries in Coiumn A on this page. Write that number here:                             $587,650.00
   If this is the iast page of your form, add the doiiar vaiue totals from ail pages.
  Write that number here:
                                                                                                                      $587,650.00

            List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
thanj>ne creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
dqb^ in Part 1, do hot fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of2

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Fill in this information to identify your case:

Debtor 1                  Carmen Victoria Valladares-Egan
                          First Name                         Middle Name                      L^st Name

Debtor 2
(Spouse If, filing)       Rrst Name                          Middle Name                      Last Name


United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

Case number
(If known)                                                                                                                                          □ Check If this is an
                                                                                                                                                      amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
ariy executory contracts or unexplred leases that could result In a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexplred Leases (Official Form 108G). Do not Include any creditors with partially secured claims that are listed In
Schedule D: Creditors Who Have Claims Secured by Property. If more space Is needed, copy the Part you need, fill It out, number the entries In the boxes on the
left Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
                List All of Your PRIORITY Unsecured Claims
 11   Do any creditors have priority unsecured claims against you?
      B No. Go to Part 2.
      D Yes.

                List All of Your NONPRIORITY Unsecured Claims

      Do any creditors have nonpiiority unsecured claims against you?

      □ No. You have nothing to report In this part Submit this form to the court with your other schedules.
      B Yes.
      List all of your nonprlorlty unsecured claims In the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it Is. Do not list claims already Included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim


El]          Bank Of America
             Nonpriority Creditor's Name
                                                                      Last 4 digits of account number        6328                                                        $4,402.00

                                                                                                             Opened 09/18 Last Active
             Po Box 982238                                            When was the debt incurred?            12/20
             El Peso, TX 79998
             Number Street City State Zip Code                        As of the date you file, the claim is: Check ail that apply
             Who Incurred the debt? Check one.

             ® Debtor 1 only                                          G Contingent
             D Debtor 2 only                                          G Unliquidated
             D Debtor 1 and Debtor 2 only                             G Disputed
             □ At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             G Check if this claim is for a community                 G Student loans
             debt                                                     G Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to ofbet?                           report as priority claims

             ■ no                                                     G Debts to pension or profit-sharing plans, and other similar debts
             G Yes                                                    ■ Other. Specify Credit Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 6
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Debtor 1 Carmen Victoria Valladares-Egan                                                                 Case number (if known)

          Lvnv Funding Lie                                            Last 4 digits of account number      8126                                              $2,490.00
          Nonpriority Creditor's Name
                                                                                                            Opened 05/20 Last Active
          C/o Resurgent Capital Services                              When was the debt incurred?           10/19
          Greenville,SC 29602
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          B Debtor 1 only                                             D Contingent
           □ Debtor 2 only                                            □ Unliquidated
           D Debtor 1 and Debtor 2 only                               □ Disputed
           D At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           D Check if this claim is for a community                   D student loans
          debt                                                        D Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offeet?                             report as priority claims

           ■ no                                                       D Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Factoring Company Account Credit One
           □ Yes                                                      ■ Other, specify Bank N.A.

14.3 I Macys/dsnb                                                     Last 4 digits of account number       2280                                              $2,705.00
          Nonpriority Creditor's Name
                                                                                                            Opened 01/16 Last Active
           Po Box 6789                                                When was the debt incurred?           10/19
          Sioux Falls, SD 57117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           B Debtor 1 only                                            D Contingent
           □ Debtor 2 only                                            □ Unliquidated
           D Debtor 1 and Debtor 2 only                               D Disputed
           D At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           D Check If this claim Is for a community                   D Student loans
          debt                                                        D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offeet?                            report as priority claims

           Bno                                                        D Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                      B other. Specify Chsrg© Account

 4.4       Macys/dsnb                                                 Last 4 digits of account number       4381                                              $2,082.00
           Nonpriority Creditor's Name
                                                                                                            Opened 12/18 Last Active
           Po Box 6789                                                When was the debt incurred?           10/19
           Sioux Falls, SD 57117
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           B Debtor 1 only                                            D Contingent
           D Debtor 2 only                                            □ Unliquidated
           D Debtor 1 and Debtor 2 only                               D Disputed
           □ At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           D Check if this claim Is for a community                   D Student loans
           debt                                                       D Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims
           B No                                                       D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                      B other. Specify Charge Account




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 6
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Debtor 1 Carmen Victoria Valladares-Egan                                                                 Case number (if known)

           Midland Credit Managem                                     Last 4 digits of account number       2126                                               $1,384.00
           Nonpn'ority Creditor's Name
                                                                                                            Opened 05/20 Last Active
          320 East Big Beaver                                         When was the debt incurred?           10/19
          Troy, Ml 48083
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           ® Debtor 1 only                                            D Contingent
           □ Debtor 2 only                                            D Unliquidated
           D Debtor 1 and Debtor 2 only                               D Disputed
           D At least one of the debtors and another                  Type of NGN PRIORITY unsecured claim:

           D Check If this claim Is for a community                   D Student loans
           debt                                                       □ Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offeet?                            report as priority claims

           ■ No                                                       □ Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Factoring Company Account Credit One
           D Yes                                                      ■ other. Specify Bank N.A.

4.6        Midland Credit Management                                  Last 4 digits of account number       6075                                               Unknown
           Nonpriority Creditor's Name
           P O BOX 60578                                              When was the debt incurred?

           Los Angeles. CA 90060
           Number Street City State Zip Code                          As of the date you file, the claim is: Check ail that apply
           Who incurred the debt? Check one.

           B Debtor 1 only                                            D Contingent
           D Debtor 2 only                                            D Unliquidated
           D Debtor 1 and Debtor 2 only                               □ Disputed
           □ At least one of the debtors and another                  Type of NONPRiORiTY unsecured claim:

           D Check if this claim is for a community                   □ Student loans
           debt                                                       D Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                            report as priority claims

           ■ no                                                       □ Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                      B Other. Specify

EH         Nordstrom/td Bank Use                                      Last 4 digits of account number       8144                                               $1,506.00
           Nonpriority Creditor's Name
                                                                                                            Opened 08/17 Last Active
           13531 E. CaleyAve                                          When was the debt incurred?           6/08/20
           Englewood, CO 80111
           Number Street City State Zip Code                          As of the date you file, the claim is: Check ail that apply
           Who incurred the debt? Check one.

           H Debtor 1 only                                            D Contingent
           D Debtor 2 only                                            D Unliquidated
           D Debtor 1 and Debtor 2 only                               D Disputed
           D At least one of the debtors and another                  Type of NONPRiORiTY unsecured claim:

           D Check if this claim is for a community                   □ Student loans
           debt                                                       D Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                            report as priority claims

           ■ no                                                       □ Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                      B Other. Specify Crodit Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 6
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Debtor 1 Carmen Victoria Valladares-Egan                                                                Case number (tf known)

4.8       Portfolio Recov Assoc                                      Last 4 digits of account number       7184                                             $2,273.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/20 Last Active
          120 Corporate Blvd Ste 100                                 When was the debt incurred?           10/19
          Norfolk, VA 23502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who Incurred the debt? Check one.

          B Debtor 1 only                                            G Contingent
          D Debtor 2 only                                            G Unliquidated
          D Debtor 1 and Debtor 2 only                               G Disputed
          D At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          G Check if this claim Is for a community                   G Student loans
          debt                                                       G Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          ■ no                                                       G Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Factoring Company Account Synchrony
          □ Yes                                                      ■ Other. Specify Bank


4.9       Syncb/amazon                                               Last 4 digits of account number       4467                                               $1,540.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/18 Last Active
          Po Box 965015                                              When was the debt Incurred?           11 /20
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
          Who Incurred the debt? Check one.

          B Debtor 1 only                                            G Contingent
          G Debtor 2 only                                            G Unliquidated
          G Debtor 1 and Debtor 2 only                               G Disputed
          G At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          G Check If this claim Is for a community                   G student loans
          debt                                                       G Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          ■ no                                                       G Debts to pension or profit-sharing plans, and other similar debts
          G Yes                                                      ■ Other. Specify Charge Account

4.1
0         Syncb/qvc                                                  Last 4 digits of account number       4080                                               $1,411.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/17 Last Active
          Po Box 965005                                              When was the debt incurred?           11/20
          Oriando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim Is: Check ail that apply
          Who incurred the debt? Check one.

           B Debtor 1 only                                           G Contingent
          G Debtor 2 only                                            G Unliquidated
          G Debtor 1 and Debtor 2 only                               G Disputed
          G At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          G Check if this claim Is for a community                   G student loans
          debt                                                       G Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
           ■ no                                                      G Debts to pension or profit-sharing plans, and other similar debts
           G Yes                                                     ■ Other. Specify Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 6
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Debtor 1 Carmen Victoria Valladares-Egan                                                                  Case number (if known)

4.1
1         Thd/cbna                                                  Last 4 digits of account number 6330                                                              $696.00
           Nonpriority Creditor's Name
                                                                                                            Opened 02/18 Last Active
          Po Box 6497                                               When was the debt incurred?             02/20
          Sioux Falls, SD 57117
           Number Street City State Zip Code                        As of the date you file, the claim Is: Check all.that apply .
          Who incurred the debt? Check one.

           B Debtor 1 only                                          □ Contingent
           D Debtor 2 only                                          D Unliquidated
           D Debtor 1 and Debtor 2 only                             D Disputed
           D At least one of the debtors and another                Type of NONPRIORiTY unsecured claim:

           D Check if this claim is for a community                 D student loans
          debt                                                      D Obligations arising out of a separation agreement or divorce that you did not
          is the claim subject to offset?                           report as pnority claims

           ■ no                                                     D Debts to pension or profit-sharing plans, and other similar debts
           D Yes                                                    ■ Other. Specify Charge Account

4.1
2          The Bureaus Inc                                          Last 4 digits of account number         0854                                                    $1,990.00
           Nonpriority Creditor's Name
                                                                                                            Opened 05/20 Last Active
           650 Dundee Road                                          When was the debt incurred?              11/19
           Northbrook, IL 60062
           Number Street City State Zip Code                        As of the date you file, the claim is: Check ail that apply
           Who incurred the debt? Check one.

           B Debtor 1 only                                          G Contingent
           D Debtor 2 only                                          □ Unliquidated
           □ Debtor 1 and Debtor 2 only                             □ Disputed
           D At least one of the debtors and another                Type of NONPRIORiTY unsecured claim:

           D Check if this claim is for a community                 G student loans
           debt                                                     G Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                          report as priority claims

           Bno                                                      G Debts to pension or profit-sharing plans, and other similar debts
           □ Yes                                                    B Other. Specify Collection Attorney Comenlty Capital Bank

              List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here, if you do not have additionai persons to be
    notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                              On vrhich entry In Part 1 or Part 2 did you list the original creditor?
 Home Depot                                                   Line 4.6 of {Check one):                  G Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 20363                                                                                         B Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64195
                                                              Last 4 digits of account number                      6978


              Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information Is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
    type of unsecured claim.

                                                                                                                                   Total Claim
                        6a.   Domestic support obligations                                                   6a.                                 0.00
To^i
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                           6b.                                 0.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.                                 0.00
                        6d.   Other. Add ail other priority unsecured claims. Write that amount here.        6d.                                 0.00


                        6e.   Total Priority. Add lines 6a through 6d.                                       6e.                                 0.00


Officiai Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 5 of 6
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Debtor 1 Carmen Victoria Valladares-Egan                                                           Case number (if known)

                                                                                                                      Total Claim
  j                   6f. Student loans                                                              6f.     $                        0.00
Total
Claims
frpm Part 2           6g. Obligations arising out of a separation agreement or divorce that
                            you did not report as priority claims                                    6g.     $                        0.00
                      6h. Debts to pension or profit-sharing pians,and other similar debts           6h.     $
                                                                                                             $                        Q.OO
                      61.   Other. Add all other nonpriority unsecured claims. Write that amount     61.
                                                                                                     61.                            d79 00
                            here
                            here                                                                             $                 AAjHfSJ.Ul#


                      6j.   Total Nonprioilty. Add lines 6f through 61.                                                        22.479.00




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of6
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 Debtor 1                Carmen Victoria Valladares-Egan
                         Rrst Name                          Middle Name

Debtor 2
{Spouse if. filing)


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(If knowi)                                                                                                                     □ Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.    Do you have any executory contracts or unexpired leases?
      B No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      □ Yes. Fill In all of the Information below even If the contacts of leases are listed on Schedule A/S.-Property (Official Form 106 A/B).

2.    List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the Instructions for this form in the instruction booklet for more examples of executory contracts
      and unexpired leases.


        Person or company with whom you have the contract or lease                   State what the contract or lease is for
                         Name. Number, Street, City, Stale and ZIP Code




          Number      Street


                                                                          ZIP Code




          Number      Street


                                                                          ZIP Code




          Number      Street




          Number      Street


                                                                          ZIP Code




          Number      Street




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Debtor 1                  Carmen Victoria Valladares-Egan
                           Rrst Name                            Middle Name

Debtor 2
(Spouse if, filing)


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number
(If known)                                                                                                                      □ Check If this Is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

        1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

        B No
        □ Yes

        2. Within the last 8 years, have you lived in a community property state or territory? {Community property states and territories include
        Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

        □ No. Goto line 3.
        B Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                ■ No
                □ Yes.


                       In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
    I                  Number, Street. City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      In line 2 again as a codebtor only if that person Is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
        out Column 2.


               Column f; Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

                                                                                                     □ Schedule D, line
                                                                                                     □ Schedule E/F, line
                                                                                                     G Schedule G, line




                                                                                                     G Schedule D, line
                                                                                                     G Schedule E/F, line
                                                                                                     G Schedule G, line .




Official Form 106H                                                               Schedule H; Your Codebtors                                       Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Carrhen Victoria Valladares-Egan

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                               Check If this Is:
(If known)
                                                                                                          □ An amended filing
                                                                                                          □ A supplement showing postpetltlon chapter
                                                                                                              13 income as of the fbilowing date:

Official Form 1061                                                                                            MM/DD/YYYY

Schedule I: Your Income                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing Jointly, and your spouse is living with you, inciude information about your
spouse. If you are separated and your spouse is not filing with you, do not Include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

                      Describe Employment

       Fill in your employment
       information.

       If you have more than one job,                              ■ Employed                                    □ Employed
       attach a separate page with           Employment status
       information about additional                                □ Not employed                                □ Not employed
       employers.
                                             Occupation            Administrative Scheduler
       Include part-time, seasonal, or
       self-employed work.                                         Momentum Pediatric Therapy
                                             Employer's name       Network
       Occupation may Include student
       or homemaker. If It applies.          Employer's address
                                                                   1815 W 213th St
                                                                   Torrance, CA 90501

                                             How long employed there?        6 years

                      Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the Information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      |1|QrDe|ttbr 1      }
                                                                                                      L                   ! [inbhiffliBfl spiMge.
       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $           3,818.53        $              N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$                0.00       +$             N/A

4.     Calculate gross Income. Add line 2         line 3.                                   4.    $        3,818.53                $      N/A




Official Form 1061                                                      Schedule I: Your Income                                                        page 1
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Debtor 1    Carmen Victoria VaUadareS'Eqan                                                       Case number {ifknown)



                                                                                                 [ Ron Debtor-I            pHp/BeMjor?
                                                                                                 L
      Copy line 4 here                                                                    4.      $        3,818.53        $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare,and Social Security deductions                                 5a.     $          739.92        $              N/A
      5b.    Mandatory contributions for retirement plans                                 5b.     $            0.00        $              N/A
      5c.    Voluntary contributions for retirement plans                                 5c.     $            0.00        $              N/A
      5d.    Required repayments of retirement fund loans                                 5d.     $            0.00        $              N/A
      5e.    Insurance                                                                    5e.     $          118.76      $                N/A
      5f.    Domestic support obligations                                                 5f.     $            0.00      $                N/A
      5g.    Union dues                                                                   5g.     $            0.00      $                N/A
      5h.    Other ded uctions. Specify:                                                  5h.+   $                0.00 + $                N/A
6.    Add the payroll deductions. Add lines 5a-t-5b+5c+5d+5e+5f+5g+5h.                    6.     $           858.68        $              N/A
7.|   Calculate total monthly take-home pay. Subtract line 6 from line 4.                 7.     $         2,959.85        $              N/A
      List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net Income.                                                          8a.              2,155.00                       N/A
      8b.    Interest and dividends                                                       8b.                     0.00                    N/A
      8c.    Family support payments that you,a non-filing spouse, or a dependent
             regularly receive
             include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                         8c.                     0.00                    N/A
      8d     Unemployment compensation                                                    8d.                     0.00                    N/A
      8e     Social Security                                                              8e.                     0.00                    N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known)of any non-cash assistance
             that you receive, such as food stamps(benefits under the Supplemental
             Nutrition Assistance Program)or housing subsidies.
             Specify:                                                                     8f.                     0.00                    N/A
      8g.    Pension or retirement Income                                                                         0.00                    N/A
      8h.    Other monthly income. Specify:                                               8h.+                    0.00 +                  N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                             2,155.00                          N/A


10. Calculate monthly Income. Add line 7 -i- line 9.                                    10.           5,114.85                  N/A      $         5,114.85
      Add the entries In line 10 for Debtor 1 and Debtor 2 or non-fiiing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates,and
      other friends or relatives.
      Do not Include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed In Schedule J.
      Specify:                                                                                                                   11. +$                0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result Is the combined monthly Income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, If It
      applies                                                                                                                   ''2-               5,114.85

                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an Increase or decrease within the year after you file this form?
      □         No.
                Yes. Explain:   Debtor plan to retire next year




Official Form 1061                                                      Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1               Carmen Victoria Valladares-Egan                                                     Check if this is:
                                                                                                           □      An amended fiiing
Debtor 2                                                                                                   □      A supplement showing postpetition chapter
(Spouse, if fiiing)                                                                                               13 expenses as of the foliowing date:

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA                                            MM/DD/YYYY


Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible, if two married people are fiiing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

              Describe Your Household
      Is this a Joint case?
       B No. Go to line 2.
       □ Yes. Does Debtor 2 live in a separate household?
                □ No
                □ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?          ■ No
      Do not list Debtor 1 and         □ Yes.     Fill cut this information for   Dependent's relationship to        Dependent's       Does dependent
      Debtor 2.                                   each dependent                  Debtor 1 or Debtor 2               age               live with you?

      Do not state the                                                                                                                 □   No
      dependents names.                                                                                                                □   Yes
                                                                                                                                       □   No
                                                                                                                                       □   Yes
                                                                                                                                       □   no
                                                                                                                                       □   Yes
                                                                                                                                       □   No
                                                                                                                                       □   Yes
      Do your expenses include                ■ No
      expenses of people other than
      yourself and your dependents?           □ Yes

              Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy fiiing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash govemment assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                      Ypp^exp^

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                         4. $                            3,399.32

      if not included in line 4:

      4a.     Real estate taxes                                                                          4a.                                     0.00
      4b.     Property, homeowner's, or renter's Insurance                                               4b.                                     0.00
      4c.     Home maintenance, repair, and upkeep expenses                                               4c.                                    0.00
      4d.     Homeowner's association or condominium dues                                                4d.                                     0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.                                    0.00




Official Form 106J                                                  Schedule J: Your Expenses                                                             page 1
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Debtor 1     Carmen Victoria Valladares-Egan                                                           Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a. $                                120.00
      6b. Water, sewer, garbage collection                                                                   6b. $                                225.00
      6c. Telephone, ceil phone, Intemet, satellite, and cable services                                      6c. $                                220.00
      6d. Other. Specify:                                                                                    6d. $                                  0.00
7.    Food and housekeeping supplies                                                                          7.   $                              400.00
8.    Childcare and children's education costs                                                                8. $                                    0.00
9.    Clothing, laundry,and dry cleaning                                                                      9. $                                200.00
10.   Personal care products and services                                                                    10. $                                200.00
11.   Medical and dental expenses                                                                            11.   $                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                200.00
13.   Entertainment, clubs, recreation, newspapers, magazines,and books                                      13.   $                              100.00
14.   Charitable contributions and religious donations                                                       14.   $                                 0.00
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                 0.00
      15b. Health insurance                                                                                15b. $                                    0.00
      15c. Vehicle insurance                                                                                15c.$                                 216.00
      15d. Other insurance. Specify:                                                                       15d. $                                     0.00
16.   Taxes. Do not Include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 216.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify:                                                                 17c. $                                                   0.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance,and support that you did not report as
      deducted from your pay on line 5,Schedule /, YourIncome(Official Form 1061).           18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                        $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                                               20b. $                                    0.00
      20c. Property, homeowner's, or renter's Insurance                                                    20c. $                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                                        20d. $                                    0.00
      20e. Homeowner's association or condominium dues                                                     20e. $                                    0.00
21.   Other: Specify:                                                                                       21. +$                                   0.00

22. Calculate your monthly expenses
      22a. Add lines 4 through 21.                                                                                     $                     5,496.32
      22b. Copy line 22(monthly expenses for Debtor 2), if any,from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,496.32
23.   Calculate your monthly net income.
      23a. Copy line 12(your combined monthly income)from Schedule 1.                                      23a.    $                            5,114.85
      23b. Copy your monthly expenses from line 22c above.                                                 23b. -$                              5,496.32

      23c. Subtract your monthly expenses from your monthly Income.
           The result Is your monthly netincome.                                                           23c. $                                -381.47

24. Do you expect an increase or decrease In your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      ■ No.
      □ Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill ill tlii;", inform.Uioii   to idt'iitify your cosr-:

Debtor 1                 Carmen Victoria Vatladarea-Egan
                         Flitt Ksme                          ilMM NftiM               LMtNsm*

Debtor 2
{SpouMir.<iflno)         Fbst Nim«                           IMM Ntme                 LsstNsma


1 United States Bankruptcy Courtfor the: CENTRAL DISTRICT OF CALIFORNIA                                                 |
Case number
tlfkneim)                                                                                                                          □ Check If this is an
                                                                                                                                     amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         mm
If two married people are filing together, both are equally reaponsiiile for supplying correct Information.
You must file this form whenever you file t)anl(ruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to 20
years, or both. 18 U.8.C.             162,1341,1519, and 3571.



                Sign Below


      Old you pay or agree to pay someone who is NOT an attorney to hetp you fill out l>arU(ruptcy forms?

       ■     No
       □     Yes. Name of parson                                                                                 Attach fiankrupfey PetUkm Pf^arer'a Notice,
                                                                                                                 Oec/arafton, and SlgnaHim (Official Form 119)


     Under penalty of perjury, 1 declare that 1 have read the summary and schedules filed with this declaration and
     that they are buej


            Carmen Victoria Vd                        gan                                Signature of Debtor 2
            Signature of Debtor 1

            Date    October 26.2021                                                       Date      // /cP- /^O




Offidal Form lOBDec                                          Declaration About an Individual Debtor's Schedules
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 Debtor 1                 Carmen Victoria Valladares-Egan
                          First Name                        Middle Name

 Debtor 2
(Spouse if. fiiing)


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
(if known)                                                                                                                                 □ Check If this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (If known). Answer every question.

               Give Details About Your Marital Status and Where You Lived Before

1.    What Is your current marital status?

      G       Married
       B      Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?



      □      Yes. List all of the places you lived in the last 3 years. Do not Include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there


3.    Within the last 8 years, did you ever live with a spouse or legal equivalent In a community property state or territory? {Community property
states and femYor/es Include Arizona. California, Idaho, Louisiana, Nevada, New Mexico. Puerto Rico, Texas, Washington and Wisconsin.)

      ■      No
      □      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

               Explain the Sources of Your Income

4.    Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
      Fill In the total amount of Income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list It only once under Debtor 1.

      □      No
             Yes. Fill in the details.


                                                   Debtor 1                                                        Debtor 2

                                                   Sources of Income                Gross Income                   Sources of Income              Gross Income
                                                   Check all that apply.            (before deductions and         Check all that apply,          (before deductions
                                                                                    exclusions)                                                   and exclusions)

 From January 1 of current year until              B Wages, commissions,                        $10,926.00         G Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                   G Operating a business                                          G Operating a business




Official Form 107                                      Statement of Financial Affairs for individuals Fiiing for Bankruptcy
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Debtor 1       Carmen Victoria Valladares-Egan                                                               Case number {if known)



                                                    Debtor 1                                                         Debtor 2

                                                    Sources of Income;                Gross income                   Sources of income              Gross income
                                                    Check atl that apply.             (before deductions and         Check all that apply.          (before deductions
                                                                                      exclusions)                                                   and exclusions)

For last calendar year:                              ■ Wages, commissions,                        $45,228.00         □ Wages, commissions,
(January 1 to December 31,2020)                                                                                      bonuses, tips
                                                     bonuses, tips

                                                     □ Operating a business                                          □ Operating a business

For the calendar year before that:                   ■ Wages, commissions,                        $44,900.00         □ Wages, commissions,
(January 1 to December 31,2019)                                                                                      bonuses, tips
                                                     bonuses, tips

                                                     □ Operating a business                                          □ Operating a business


      Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples oi other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      ■     No
      □     Yes. Fill in the details.

                                                    Debtor 1                                                         Debtor 2
                                                    Sources of income                 Gross Income from              Sources of Income              Gross income
                                                    Describe below.                   each source                    Describe below.                (before deductions
                                                                                      (before deductions and                                        and exclusions)
                                                                                      exclusions)

              List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?
      □     No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as Incurred by an
                    individual primarily for a personal, family, or household purpose.'

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      n No.         Go to line 7.
                      ^ Yes         List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                    paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                    not include payments to an attomey for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      B Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      n No.         Go to line 7.
                      B Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                    include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                    attomey for this bankruptcy case.


       Creditor's Name and Address                                 Dates of payment            Total amount          Amount you        Was this payment for..
                                                                                                         paid            still owe

       Shellpoint                                                  Last 3 months                $10,198.00          $582,910.00        □ Mortgage
       55 Beattie Place                                                                                                                □ Car
       Greenville, SC 29601                                                                                                            □ Credit Card
                                                                                                                                       □ Loan Repayment
                                                                                                                                       □ Suppliers or vendors
                                                                                                                                       □ Other




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2

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Debtor 1      Carmen Victoria Valladares-Egan                                                              Case number (ifknown)



       Creditor's Name and Address                              Dates of payment             Total amount          Amount you         Was this payment for..
                                                                                                       paid            still owe

       Bridgecrest                                              Last 3 months                     $649.00           $4,740.00         □ Mortgage
      Po Box 29018                                                                                                                    □ Car
      Phoenix, AZ 85038                                                                                                               □ Credit Card
                                                                                                                                      □ Loan Repayment
                                                                                                                                      □ Suppliers or vendors
                                                                                                                                      □ Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      ■     No
      □     Yes. List ail payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                       paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      ■     No
      □     Yes. List all payments to an insider
       insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                       paid            still owe      Include creditor's name

              Identify Legal Actions, Repossessions, and Foreclosures

      Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custody
      modifications, and contract disputes.

      ■     No
      □     Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                           Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      ■     No. Goto line 11.
      □     Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                         Value of the
                                                                                                                                                                property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      ■     No
      □     Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                   Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?

      ■     No
      □     Yes


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        pages

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 Debtor 1      Carmen Victoria Valladares-Egan                                                             Case number (ifknown)



              List Certain Gifts and Contributions

13. Within 2 years before you fiied for bankruptcy, did you give any gifts with a totai vaiue of more than $600 per person?
    ■ No
      □ Yes. Fill in the details for each gift.
       Gifts with a totai vaiue of more than $600                   Describe the gifts                                        Dates you gave                 Vaiue
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you fiied for bankruptcy, did you give any gifts or contributions with a totai value of more than $600 to any charity?
    ■ No
      □ Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that totai               Describe what you contributed                             Dates you                      Vaiue
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, CKy, State and ZIP Code)

              List Certain Losses


15. Within 1 year before you filed for bankruptcy or since you fiied for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

      ■     No
      □     Yes. Fill in the details.
       Describe the property you lost and                  Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                           include the amount that Insurance has paid. List pending
                                                           insurance claims on line 33 of Schedule A/B: Property.

              List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      □     No
      B     Yes. Fill in the detaiis.
       Person Who Was Paid                                          Description and value of any property                     Date payment             Amount of
       Address                                                      transferred                                               or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Attorney Group                                           Attorney Fees $795                                        10/30/2020                 $795.00
       3435 Wllshire Blvd
       Suite 1111
       Los Angeles, CA 90010
       dklngi^heattorneygroup.com


17. Within 1 year before you fiied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      ■     No
      D     Yes. Fill in the details.
       Person Who Was Paid                                          Description and vaiue of any property                     Date payment             Amount of
       Address                                                      transferred                                               or transfer was            payment
                                                                                                                              made




Offidal Form 107                                      Statement of Financial Afftiirs for Individuals Filing for Bankruptcy                                   paged
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Debtor 1       Carmen Victoria Valladares-Egan                                                               Case number [ifknown)



18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone,other than property
    transferred in the ordinary course of your business or financial affoirs?
    Include both outright transfers and transfers made as security (such as the granting of a security Interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
      ■     No
      □     Yes. Fill In the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or     Date transfer was
       Address                                                        property transferred                      payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
      ■     No
      □     Yes. Fill In the details.
       Name of trust                                                  Description and value of the property transferred                      Date Transfer was
                                                                                                                                             made

               List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
      ■     No
      □     Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of              Type of account or       Date account was          Last balance
       Address (Number, Street, Ctty, State and ZIP             account number                 instrument               closed, sold,         before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      ■     No
      □     Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents             Do you still
       Address (Number, Street, CRy, State and ZIP Code)              Address (Number, Street, City,                                           have it?
                                                                      State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      ■     No
      □     Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents             Do you still
       Address (Number, street, Ctty, State and ZIP Code)             to it?                                                                   have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

               Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.


      ■     No
      D     Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

               Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

■     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1      Carmen Victoria Valladares-Egan                                                                  Case number {if known)



      toxic substances, wastes,or material into the air, land, soil, surface water, groundwater, or other medium,including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
B Site means any location,fecility, or property as defined under any environmental law, whether you now own,operate, or utilize it or used
      to own,operate, or utilize it, including disposal sites.
B Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      B     No
      □     Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

      ■     No
      □     Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■     No
      □     Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

              Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            □ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
            □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
            □ A partner in a partnership
            □ An officer, director, or managing executive of a corporation
            □ An owner of at least 5% of the voting or equity securities of a corporation
  i
      B No. None of the above applies. Go to Part 12.
      □ Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include ail financial
    institutions, creditors, or other parties.

      ■     No
      □     Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

              Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
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                                                                                                                                                  toQflat iiasAM

 D®btor1 Carmen Victoria Valladares^Eqan                                                              _       Case number(rtoxnwij

are true and correct 1 understand that making a ialse statement,concealing property,or obtaining money or property by fraud In connection
with a bankruptcy case can result In fines up to $260,000,or Imprisonment for up to 20 years,or both,
18 M,S.C.§§ 162. IMIjJjaflLOnd $671.


 Carmen Victoria Valladarea-Egan                                           Signature of Debtor 2
 Signature of Debtor 1

 Date October 26.2021                                                      Date
Did you attach additional pages to Your Statemont ofFbiaacM Affairs forlndlvktualsFUIng for Bankruptcy(OWotol Form 107)7
■ No
□ Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
■ no
□ Yes. Name of Person                     Attach the Ba/dauptcy Pe&Ion Preparar's Notice, Dectaratbn, and Signature (Cfflcial Form 119).




Official Form 107                                        Statement of PInenctal Affairs for Indlvldiiels Filing for Bankruptcy                          page 7
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Debtor 1                 Carmen Victoria Valladares-Egan
                          Rrst Name                       Middle Name

Debtor 2
{Spouse if, filing)


United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(If known)                                                                                                                     □ Check If this Is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for [ndividuais Filing Under Chapter 7                                                                                     12/15
If you are an Individual filing under chapter 7, you must fill out this form If;
   creditors have claims secured by your property, or
I you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
             whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
              on the form


If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
              sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

               List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify die creditor and the property that is collateral           What do you intend to do with the property that       Did you claim the property
                                                                        secures a debt?                                       as exempt on Schedule C?



    Creditor's        Brldgecrest                                       □ Surrender the property.
    name:                                                               □ Retain the property and redeem it.
                                                                        I Retain the property and enter Into a
    Description of       2016 Hyundai Accent 56K miles
                                                                           Reaffirmation Agreement
    property             FMV per KBB                                    □ Retain the property and [explain]:
    securing debt:



    Creditor's        Shellpoint                                        D Surrender the property,
                                                                        n Retain the property and redeem It.
                                                                        B Retain the property and enter Into a
    Description of       4337 W 170th St Lawndale, CA                      Reaffirmation Agreement
    property             90260 Los Angeles County                       □ Retain the property and [explain]:
    securing debt:             per Zillow; purchased in

               List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
In the Information below. Do not list real estate leases. Unexpired leases are leases that are still In effect; the lease period has not yet ended.
You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                         Will the lease be assumed?



Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7

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D®Wor 1 Carman Victoria ValladareS'Eaan                                                            Case number{gkwm)

Lessor's name:                                                                                                 .       □ No
Oescrlptton of teased
P«V«ty:                                                                                                                □ Yes
Lessor's name:                                                                                                         □ No
Descriptton of leased
Property:                                                                                                              □

Lessor's name:                                                                                                         □
DescrfpUon of leased
Property:                                                                                                              □

Lessor's name:                                                                                                         □ |mo
Description of teased
Property:                                                                                                              □ yes

Lessor's name:                                                                                                         □ No
Description of leased
Property:                                                                                                              □ ygs

Lessor's name:                                                                                                         □ No
Description of leased
Property:                                                                                                              □ y^g

Lessor's name:                                                                                                         □ No
Description of leased
Property:                                                                                                              □ ygg

             8lfln Below

Under penalty of perjury, I declare that 1 have Indicated my intention about any property of my estate that secures a debt and any personal
property that Is subject to an unexplrecUsa&fit^


     ^ CarmeFVCtoferia^alladares-Egan                                                 Signature of Debtor 2
      Signature of Debtor 1

      Date October 26.2021                                                         Date       ///^ / P JX J




Offidal Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                     page 2
Sotbnro Copyrigltl (c) 19SS-2021 BesI Ctto, LLC •vyww.beslcaM.oom                                                                  C"® Banltniptcy
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Notice Required by 11 U.S.C.§ 342(b)for
individuals Filing for Bankruptcy(Form 2010)


                                                                                      Chapter?:         Liquidation
This notice is for you if:
                                                                                              $245 filing fee
        You are an individual filing for bankruptcy,
        and                                                                                    $78   administrative fee

        Your debts are primarily consumer debts.                                      +        $15 trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8)as "incurred by an individual                                                 $338   total fee
        primarily for a personal, family, or
        household purpose."                                                           Chapter 7 is for individuals who have financial
                                                                                      difficulty preventing them from paying their debts
                                                                                      and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                         property to be used to pay their creditors. The
individuals                                                                           primary purpose of filing under chapter 7 is to have
                                                                                      your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                    many of your pre-bankruptcy debts. Exceptions exist
                                                                                      for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                       be enforced after discharge. For example, a creditor
                                                                                      may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                   repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                         However, if the court finds that you have committed
                   for family farmers or                                              certain kinds of improper conduct described in the
                         fishermen                                                    Bankruptcy Code, the court may deny your
                                                                                      discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                       You should know that even if you file chapter 7 and
                          income                                                      you receive a discharge, some debts are not
                                                                                      discharged under the law. Therefore, you may still
                                                                                      be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                         most taxes;
chapter.
                                                                                          most student loans;

                                                                                          domestic support and property settlement
                                                                                          obligations;




Notice Required by 11 U.S.C.§342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                        page 1

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         most fines, penalties, forfeitures, and criminal                             your income is more than the median income for your
        restitution obligations; and                                                  state of residence and family size, depending on the
                                                                                      results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                          administrator, or creditors can file a motion to dismiss
         papers.                                                                      your case under § 707(b)of the Bankruptcy Code. If a
                                                                                      motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                  be dismissed. To avoid dismissal, you may choose to
                                                                                      proceed under another chapter of the Bankruptcy
        fraud or theft;                                                               Code.

        fraud or defalcation while acting in breach of                                If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                           the trustee may sell your property to pay your debts,
                                                                                      subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                  of the proceeds from the sale of the property. The
                                                                                      property, and the proceeds from property that your
        death or personal injury caused by operating a                                bankruptcy trustee sells or liquidates that you are
         motor vehicle, vessel, or aircraft while intoxicated                         entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                        enable you to keep your home, a car, clothing, and
                                                                                      household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                    Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                     you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A-1)if you are an                                    as Exempt(Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                   proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7form,                                Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A-2).
                                                                                                  $1,167 filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                       +          $571     administrative fee
 Calculation (Official Form 122A-2). The calculations on
                                                                                                  $1,738     total fee
the form— sometimes called the Means Tesf—deduct
from your income living expenses and payments on
                                                                                      Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                      but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                      chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C.§342(b)for Individuals Filing for Bankruptcy(Form 2010)                                                             page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself In bankruptcy court, you should understand that
            many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
            or Inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

             You should not file for bankruptcy If you are not eligible to file or If you do not intend to file the
             necessary documents.

             Bankruptcy fraud Is a serious crime; you could be fined and imprisoned If you commit fraud in your
            bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
            fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to
            20 years, or both. 18 U.S.C. §§152,1341,1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                   to repay your creditors all or part of the money that
                    farmers or fishermen                                                you owe them, usually using your future earnings. If
                                                                                        the court approves your plan, the court will allow you
                                                                                        to repay your debts, as adjusted by the plan, within 3
                   $200 filing fee                                                      years or 5 years, depending on your income and other
+                   $78 administrative fee                                              factors.
                   $278       total fee
                                                                                        After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                  pay include:
are not paid.
                                                                                               domestic support obligations,

                                                                                               most student loans,
Chapter 13: Repayment plan for
                    Individuals with regular                                                   certain taxes,
                    Income
                                                                                               debts for fraud or theft.


                   $235 filing fee                                                             debts for fraud or defalcation while acting In a
+                   $78 administrative fee                                                     fiduciary capacity,
                   $313       total fee
                                                                                               most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                            certain debts that are not listed in your
installments over a period of time and to discharge                                            bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                        certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C.§ 109.                                                    personal injury, and

                                                                                               certain long-term secured debts.




Notice Required by 11 U.S.C.§ 342(b)for Individuals Filing for Bankruptcy (Form 2010)

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                                                                                       A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                         together—called a joint case. If you file a joint case and
                                                                                       each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                 bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                      mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                   unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                          Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                    credit counseling agencies

 For more information about the documents and                                          The law generally requires that you receive a credit
their deadlines, go to:                                                                counseling briefing from an approved credit counseling
 httD://www.uscourts.qov/forms/bankruDtcv-forms                                        agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                       case, both spouses must receive the briefing. With
                                                                                       limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                           days before you file your bankruptcy petition. This
                                                                                       briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                               Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                      In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                  must complete a financial management instructional
        fined, imprisoned, or both.                                                    course before you can receive a discharge. If you are
                                                                                       filing a joint case, both spouses must complete the
  !     All information you supply in connection with a                                course.

  I     bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                              You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                             both the briefing and the instructional course from:
        other offices and employees of the U.S.                                        http://www.uscourts.gov/services-forms/bankruptcv/cre
        Department of Justice.                                                         dit-counseling-and-debtor-education-courses.


 Make sure the court has your mailing address                                          In Alabama and North Carolina, go to:
                                                                                       http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                      dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for individuals
Filing for Bankruptcy (Official Form 101). To ensure                                   If you do not have access to a computer, the clerk of
that you receive information about your case,                                          the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                the list.
of any changes in your address.




Notice Required by 11 U.S.C.§ 342(b)for individuals Filing for Bankruptcy(Form 2010)

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B2030(Form 2030)(12/15)
                                                                 United States Bankruptcy Court
                                                                       Central District of California
 In re          Carmen Victoria Valladares-Eqan                                                                 Case No.                      ■      ■
                                                                                    Debtor(s)                   Chapter       7

                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
         Pursuant to 11 U .S.C. § 329(a)and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,for services rendered or to
          be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                For legal services, I have agreed to accept                                                 $                     795.00
                Prior to the filing ofthis statement I have received                                        $                     795.00
                Balance Due                                                                                 $                       0.00

2.       The source ofthe compensation paid to me was:

                B Debtor             □ Other (specify):

3.        The source of compensation to be paid to me is:

                B Debtor             □ Other (specify):

4.        Hi have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          □ I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

          In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

          a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
          b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
          c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
          d.   [Other provisions as needed]
                    Exemption planning

          By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                     Negotiations with secured creditors to reduce to market value; preparation and filing of reaffirmation agreements
                     and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
                     liens on household goods; Representation of the debtors in any dischargeabiiity actions, Judicial lien
                     avoidances, relief from stay actions or any other adversary proceeding.
                                                                             CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

         October 26, 2021                                                           /s/ Daniel Kina
         Date                                                                       Daniel King
                                                                                    Signature ofAttorney
     1                                                                              The Attorney Group
                                                                                    3435 Wiishire Bivd
                                                                                    Suite 1111
                                                                                    Los Angeles, CA 90010
                                                                                    213-388-3887 Fax: 213-388-1744
                                                                                    dking^heattornevorouD.com
                                                                                    Name oflawfirm




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 Fill In this Infomiation to identify your case:                                                      Check one box only as directed in this form and in-Form
Debtor 1             Carmen Victoria Vaiiadares-Eaan

Debtor 2                                                                                                 □ 1 . There is no presumption of abuse
(Spouse,if filing]

United States Bankruptcy Court for the:           Central District ofCalifomla
                                                                                                         B 2. The calculation to determine If a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
Case number                                                                                                      Calculation (Official Form 122A-2).
(if known)
                                                                                                         □ 3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.

                                                                                                          □ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                       04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space Is needed,
attach a separate sheet to this form, include the line number to which the additionai information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A'1Supp) with this form.

                 Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
       B Not married. Fill cut Column A. lines 2-11.
       D Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
       □ Married and your spouse is NOT filing with you. You and your spouse are:
        □ Living In the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        D Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101{10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. if the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Rll in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental properly, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                  Column B
                                                                                                           Debtor 1                  Debtor 2 or
                                                                                                                                     non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
       payroll deductions).                                                                                           3,818.53       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.
  4.   All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only If Column B is not
       fi lled in. Do not include payments you listed on line 3.
  5. Net income from operating a business, profession, or farm
                                                                                    Debtor 1

       Gross receipts (before all deductions)                             «      0.00

       Ordinary and necessary operating expenses                                 0.00

       Net monthly income from a business, profession, or farm $                 0.00     Copy here •> $
  6.   Net income from rental and other real property
                                                                                    Debtor 1

       Gross receipts (before all deductions)                      ®               2,150.00
       Ordinary and necessary operating expenses                   *5                    0.00

       Net monthly income from rental or other real                                             Copy
       property                                                    5               2,150.00 here->$                   2,150.00

  7. Interest, dividends, and royalties                                                                                    CLOO"




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                          page 1
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oebtori       Carmen VIctorta ValladaroS'Egan                                                          Cese numbsf(ffcneim)



                                                                                                     Co/umnA                  Co/umnS
                                                                                                     Debtor 1                 Debtor 2or
                                                                                                                              non«fiiing spouse
 8. Unemployment compensallon                                                                        $              0.00      $
      Do not enter the amount If you contend that the amount received waa a benefit und&
      the Social Security Act.Instead, list it here:
          For you        _                 _               _        $                    q.qq
          For your spouse^                                          $
 9. Pension or retirement income.Do not include any amount received that was a
      benefit under the Social Security Act Also,except as stated In the next sentence,do
     not include any compensation,pennon, pay,annuity, or aiiowanoe paid the
     United States Government in connection with a disabiilty, combat-reiated injury or
     disability, or death ofa member of the uniformed senrlces. If you received any retired
     pay paid under chapter 61 of title 10,then inciuda that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be enfitied
     If retired under any provision of title 10 other than chapter61 of that title.                                 0.00      s
  10.Income from ail other sources not listed above. Spedfy the source and amount
     Do not include any benefits recdved under the Social Security Act; payments made
     under the Federal law relating to the national emergency declared by the President
     under the National Emergencies Act(50 U.S.C. 1601 et seq.)^th respect to the
     ooronavirus disease 2019(COViD-10); payments received as a vicUm ofa war
     crime,a crime against humanity,or international or domestic terrorism; or
     compensation pension, pay,anmrity,or allowance paid by the United States
     Government In connection with a dlsabiiity. combat-reiated injury or dlsabDihr. or
      death of a member of the uniformed services. If necessary, list ottrer sources on a
      separate page and put the total betow..
                                                                                                     $              0.00      $
                                                                                                     $              0.00      $

                 Total amounts from sepitrate pages,if any.                                      + $                0.00      $

  11. Calculate your total current monthly Income.Add lines 2 through 10 for
      each column.Then add the total for Column A to the total for Column B.                        5,968.53                                S      5,968.53

                                                                                                                                            Toll!cumnt monthly
                                                                                                                                            (ncomt

               Determine Whether the Means Test Applies to You

  12. Caicutate your current monthly income for the year. Follow these steps:
      12a.Copy your total current monthly income from line 11                                               Copy line 11 heres>             S      5,968.53


              Multiply by 12(the number of months in a year)                                                                                    X 12

      12b.The result is your annual income for this part of the fonn                                                                 12b.   S     71,622.36

  13. Calculate the median family income that applies to you.Follow these steps:
      Fill in the state In which you live.                                    OA


      Fill in the number of people in your household.                          1

      Rll In the median family Income for your state and size of household.                                                          13.    S     62,938.00
      To find a list of applicable median Income amounts,go online using the ilriik sp^fi^ In ^e separate instnictlons
      for this form. This list may also be available at the bankruptcy clerk's office.
  14. How do the lines compare?
      14a.      □ Line 12b is less than or equal to tine 13. On the top of page 1, check box 1. There /s no presumption of abuse.
                        Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.     H Line 12b Is mote than line 13. On the top of page 1. check box 2, The presumption of ediusefs determined by Form 122A-2.
                        Go to Part 3 and fill out Form 122A-2.
               Sign Below
              By sign                                  nalty of perjury that the information on this statement and in any attachments is tme and correct.

                Carmen Victoria Vattfifkifes-Egan
Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                 page 2
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Debtor 1    Carmen Victoria Valladares-Eqan                                                   Case number {if known)

               Signature of Debtor 1
        Date October 26. 2021
               MM/DD /YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b,fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                   Chapter 7 Statement of Your Current Monthly Income                       page 3
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    Fill in this information to identify your case:                                                           Check the appropriate box as directed in
                                                                                                              lines 40 or 42:
    Debtor 1          Carmen Victoria Valiadares-Eaan
                                                                                                                 According to the calculations required by this
    Debtor 2                                                                                                     Statement:
    (Spouse, If filing)
                                                                                                                 ■ 1. There Is no presumption of abuse.
    United States Bankruptcy Court for the;         Central District of California

    Case number
                                                                                                                 □ 2 . There is a presumption of abuse.
     If known

                                                                                                              □ Check if this is an amended filing
    Official Form 122A - 2
    Chapter 7 Means Test Calculation                                                                                                                        04.
To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space Is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (If known).

                  Determine Your Adjusted Income


    1.    Copy your total current monthly Income.                             Copy line 11 from Official Form 122A-1 here->.                        5,968.53

    2.    Did you fill out Column B in Part 1 of Form 122A-1?
          I No. Fill In $0 for the total on line 3.
          □ Yes. Is your spouse Filing with you?
            D No.         Go to line 3.
            □ Yes.        Fill In $0 for the total on line 3.

    3.   Adjust your current monthly Income by subtracting any part of your spouse's Income not used to pay for the
          household expenses of you or your dependents. Follow these steps:
I

■        On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used for the household
          expenses of you or your dependents?


          B No.    Fill In 0 for the total on line 3.
!         □ Yes. FIN In the Information below:
                State each purpose for which the income was used                                Fill in the amount you
                For example, the income is used to pay your spouse's tax debt or to             are subtracting from
                support other than you or your dependents.                                      your spouse's Income




                                                                                                                  Copy total here=>.



    4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                                        5,968.53




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                  page 1
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Debtor 1     Carmen Victoria Valladares-Egan                                                    Case number {if known)



                 Calculate Your Deductions from Your Income


   The Internal Revenue Service(IRS)issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions In lines 6-15.To find the IRS standards,go online using the link specified in the separate
   instructions for this form. This Information may also be available at the bankruptcy clerk's office.
   Deduct the expense amounts set out In lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
   your actual expenses If they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
   Income in line 3 and do not deduct any operating expenses that you subtracted from In Income In lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, It means both you and your spouse If Column B of Form 122A-1 Is filled In.


   5.      The number of people used in determining your deductions from income

           Fill In the number of people who could be claimed as exemptions on your federal Income tax return,
           plus the number of any additional dependents whom you support. This number may be different from
           the number of people In your household.



   Ngt|d0a)|$)^dq|:^'                 ??feU:mii]st?p^4h^lR^l^tt!^a!:^tandaj^

           Food,clothing,and other Items: Using the number of people you entered In line 5 and the IRS National
                                                                                                                                                  723.00
           Standards, fill In the dollar amount for food, clothing, and other Items.


           Out-of-pocket health care allowance: Using the number of people you entered In line 5 and the IRS National Standards, fill In
           the dollar amount for out-of-pocket health care. The number of people Is split into two categories-people who are under 65 and
           people who are 65 or older-because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




           7a. Out-of-pocket health care allowance per person                     68.00

           7b. Number of people who are under 65

           7c. Subtotal. Multiply line 7a by line 7b.                             68.00         Copy here=>       $          68.00




           7d. Out-of-pocket health care allowance per person                    142.00

           7e. Number of people who are 65 or older

           7f.   Subtotal. Multiply line 7d by line 7e.                                0.00     Copy here=>      +$            0.00
    I




           7g. Total. Add line 7c and line 7f                                                   68.00                 Copy total here=>          68.00




Official Form 122A-2                                             Chapter 7 Means Test Calculation                                                  page 2
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 Debtor 1          Carmen Victoria Valladares-Eaan                                                         Case number {ifknown)


  .Local Standards              You must use the IRS Local Standards to answer the questions In lines 8-15. !                 m'w


           Based on information from the IRS,the U.S. Trustee Program has divided the IRS Local Standar-d for housing for
           bankruptcy purposes Into two parts:

           B Housing and utilities - Insurance and operating expenses
           B Housing and utilities - Mortgage or rent expenses
       To answer the questions In lines 8-9, use the U.S. Trustee Program chart.

           To find the chart, go online using the link specified in the separate instructions for this form.
           This chart may also be available at the bankruptcy clerk's office.


       8.       Housing and utilities • Insurance and operating expenses; Using the number of people you entered in line 5, fill
                in the dollar amount listed for your county for insurance and operating expenses                                                                  525.00


       9.       Housing and utilities - Mortgage or rent expenses;

                9a. Using the number of people you entered in line 5, fill in the dollar amount
                     listed for your county for mortgage or rent expenses                                                    $        1,842.00

                9b. Total average monthly payment for all mortgages and other debts secured by your home.

                     To calculate the total average monthly payment, add all amounts that are
                     contractually due to each secured creditor in the 60 months after you file
                     for bankruptcy. Then divide by 60.

                    [ Name of the creditor                                        Average monthly
                                                                                  payment

                     Shellpoint                                                   $          3,399.32


                                                                                                                                                    Repeat this
                                                                                                               Copy
                                           Total average monthly payment          $          3,399.32          here=>                     ooQQ-59 amount on
                                                                                                                                                    line 33a.


                9c. Net mortgage or rent expense.

                     Subtract line 9b (total average monthly payment)from line 9a (mortgage                                                  Copy
                     or rent expense). If this amount is less than $0,enter $0                                                     O'OO      here=> $


           10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing Is Incorrect and
               affects the calculation of your monthly expenses, fill in any additional amount you claim.

   j             Explain why:
           11. Local transportation expenses: Check the number of v^icles for which you claim an ownership or operating expense.

                □ 0. Go to line 14.

                B 1. Go to line 12.

                □ 2 or more. Go to line 12.


           12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim Uie
       I        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                313.00




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                              page 3
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 Debtof 1     Carmen Victoria Valladares-Egan                                                       Case numb^ {If known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate ^e net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
            more than two vehicles.



        Vehicle 1     Describe Vehicle 1:
                                                  2016 Hyundai Accent 56K miles FMV per KBB

    13a. Ownership or leasing costs using IRS Local Standard.                                                        533.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not Include costs for leased vehicles.


            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor In the 60 months after you filed for
            bankruptcy. Then divide by 60.


                . Name of each creditor for Vehicle 1                           Average monthly
                                                                                payment

                 Bridgecrest

                                                                                                                                        Repeat Ihls
                                                                                                        Copy                     »»»«   amount on
                                         Total Average Monthly Payment         $           79.20        here => -$           79.20 line 33b.



    13c. Net Vehicle 1 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 1
            Subtract line 13b from line 13a. if this amount Is less than $0, enter $0.
                                                                                                                         ««      expense
                                                                                                                     453.80       here=> i                 453.80




    LVehlcle 2        Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard.

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
            leased vehicles.



                 Name of each creditor for Vehicle 2                            Average monthly
                                                                                payment




                                                                                                                                    Repeat this
                                         Total Average Monthly Payment         $                                            0.00 line 33c.



    13f. Net Vehicle 2 ownership or lease expense                                                                                Copy net
                                                                                                                                 Vehicle 2
            Subtract line 13e from line 13d. If this amount Is less than $0, enter $0.                                           expense
                                                                                                                       0-00       here=> S


    14. Public transportation expense: If you claimed 0 vehicles In line 11, using the IRS Local Standards, fill in the Public
    i       Transportation expense allowance regardless of whether you use public transportation.                                              ^
    1

    15. Additional public transportation expense: If you claimed 1 or more vehicles In line 11 and If you claim that you may
        also deduct a public transportation expense, you may fill In what you believe Is the appropriate expense, but you may
            not claim more than the IRS Local Standard for Public Transportation.                                                              5




Official Form 122A-2                                                 Chapter 7 Means Test Calculation
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                     Carmen Victoria Valladares-Eqan                                                       Case number (t!known)




  I Other Necessary Expenses                    In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                               the following IRS categories.

           16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
               self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
                   your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
                   and subtract that number from the total monthly amount that is vwthheld to pay for taxes.
  I                Do not Include real estate, sales, or use taxes.                                                                                    739.92

           17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
   I               contributions, union dues, and uniform costs.
                   Do not include amounts that are not required by your job, such as voluntary 401(k)contributions or payroll savings.

  'l8. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
                   filing together. Include payments that you make for your spouse's term life insurance. Do not include premiums for life
       I           insurance on your dependents, for a non-filing spouse's life Insurance, or for any form of life insurance other than
       I           term.

       j19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
                   administrative agency, such as spousal or child support payments.
           I       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.
           20. Education: The total monthly amount that you pay for education that is ei^er required:
                   H as a condition for your job, or
                   I for your physically or mentally challenged dependent child if no public education is available for similar services.
           21. Chlldcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
                   Do not include payments for any elementary or secondary school education.

           22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
               that is required for the health and welfare of you or your dependents and that Is not reimbursed by insurance or paid
               by a health savings account. Include only the amount that is more than the total entered in line 7.
                   Payments for health insurance or healUi savings accounts should be listed only in line 25.

           23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
               for you and your dependents,such as pagers, call waiting, caller identification, special long distance, or business cell
               phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
                   income, if it is not reimbursed by your employer.
                   Do not include payments for basic home telephone, intemet and cell phone service. Do not include self-employment
                   expenses, such as those reported on line 5 of Oftidai Form 122A-1, or any amount you previously deducted.



               24. Add all of the expenses allowed under the IRS expense allowances.                                                              2,822.72
               '   Add lines 6 through 23.




Official Form 122A-2                                                   Chapter 7 Means Test Calculation
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Debtor 1                      Carmen Victoria Vaiiadares-Egan                                                    Ce$e number (if known)



          Additional Expense Deductions                     These are additional deductions allowed by the Means Test,
  j                                                         Note'. Do not include any expense allowances listed in lines 6-24.
          25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
                          insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
                          your dependents.
                          Health insurance                                                     118.76

                          Disability insurance

                          Health savings account


                                                                                                118.76        Copy total here=>                                  118.76



                          Do you actually spend this total amount?

                          □         No. How much do you actually spend?

              26. Continued contributions to the care of household or family members. The actual monthly expenses that you vmII
                          continue to pay for the reasonable and necessary care and support of an elderly, chronically III, or disabled member of
                          your household or member of your immediate family who is unable to pay for such expenses. These expenses may
                          include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                       ®
   , 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
         safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      I                   By law, the court must keep the nature of these expenses confidential.                                                     ®
              28. Additional home energy costs. Your home energy costs are included in your Insurance and operating expenses on
                          line 8.


                          If you believe that you have home energy costs that are more than the home energy costs Included in expenses on line
                          8, then fill in the excess amount of home energy costs.

                          You must give your case trustee documentation of your actual expenses, and you must show that Uie additional
                          amount claimed is reasonable and necessary.                                                                                $
              29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
                  $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
                          public elementary or secondary school.

                          You must give your case trustee documentation of your actual expenses, and you must explain why the amount
                          claimed is reasonable and necessary and not already accounted for in lines 6-23.
          I


                          * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.       $
              30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
                          higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
              I           than 5% of the food and clothing allowances in the IRS National Standards.

                          To find a chart showing the maximum additional allowance, go online using the link specified in the separate
                          instructions for this form. This chart may also be available at the bankruptcy clerk's office.

                          You must show that the additional amount claimed is reasonable and necessary.                                              ^
                  31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
                  i       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-{2).


                  32. Add all of the additional expense deductions.                                                                                           118.76

                      '   Add lines 25 through 31.




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Debtor 1             Carmen Victoria Valladares-Eqan                                                             Case number {if known)



  I Deductions for Debt Payment

   33. For debts that are secured by an Interest in property that you own, including home mortgages, vehicle
                 loans, and other secured debt, fill in lines 33a through 33e.
                 To calculate the total average monthly payment, add all amounts that are contractually due to each secured
                 creditor in the 60 months after you file for bankruptcy. Then divide by 60.

                     Mortgages on your home:                                                                                                       [,.o Average monthly
                                                                                                                                                    p. payment
   33a.             Copy line 9b here                                                                                                               ^$         3,399.32
                    Loans on your first two vehicles:
  133b.             Copy iine 13b here
   33c.             Copy line 13e here
   33d.              List other secured debts:

  I Name of each creditor for other secured debt                    Identily property that secures the debt                    Does payment
                                                                                                                               include taxes or
                                                                                                                               insurance?


                                                                                                                                 □        No
                   -NONE-                                                                                                        □        Yes


                                                                                                                                 □        No
                                                                                                                                 □        Yes

                                                                                                                                 D        No
                                                                                                                                 □        Yes


                                                                                                                                                  Copy
                                                                                                                                                  total
   33e. Total average monthly payment. Add lines 33a through 33d                                                                 3,478.52         here=>   $     3,478.52

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
                 or other property necessary for your support or the support of your dependents?
    I


                 H No.     Go to line 35.
        I        □ Yes. State any amount that you must pay to a creditor, in addition to the payments
                           listed in iine 33, to keep possession of your property (caiied the cure amount)-
                           Next, divide by 60 and fiii in the information beiow.

            mama of the creditor                             Identify property that secures the debt                         Total cure                    Monthly cure
                                                                                                                             amount                        amount           i


                -NONE-




                                                                                                              Total I $


   35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                 H No.     Go to line 36.
            I    □ Yes. Fill in the total amount of all of these priority claims. Do not include cument or
                           ongoing priority claims, such as those you listed in line 19.
                             Total amount of all past-due priority claims                                            $                    0.00   +60= $




Official Form122A-2                                                     Chapter 7 Means Test Calculation                                                                page 7
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 Debtor 1      Carmen Victoria Valladares-Egan                                                              Case number {If knovm)


    36. Are you eligible to file a case under Chapter 13711 U.S.C.§ 109(e).
        For more information, go online using the link for Bankruptcy Basics specified In the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

         H No. Go to line 37.
            □ Yes. Fill in the following information.
                      Projected monthly plan payment if you were filing under Chapter 13                       $
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).


                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may also
                      be available at the bankruptcy clerk's office.
                                                                                                                                             Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                             here=>   $



    37. Add all of the deductions for debt payment.                                                                                                       $     3,478.52
        Add lines 33e through 36.

   l^d^irtfeddjglijBhsi^^
    38. Add all of the allowed deductions.

             Copy line 24, All of the expenses allowed under IRS
             expense allowances                                                       $            2,822.72

             Copy line 32, All of the additional expense deductions                   $               118.76
             Copy line 37, All of the deductions for debt payment                    +$            3,478.52


                                                                  Total deductions                 8,420.00         Copy total here            =>     $            6,420.00


                 Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
             39a. Copy line 4, adjusted current monthly Income                                     5,968.53
             39b. Copy line SB.Total deductions                                                    6,420.00

             39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                  Copy
                  Subtract line 39b from line 39a                                                    -451.47         here=>$                      -451.47



             For the next 60 months (5 years)                                                                                         x 60

                                                                                                                                     Copy
             39d. Total. Multiply line 39c by 60                                          39d.                 -27,088.20            here=>
                                                                                                                                                               -27,088.20


    40. Find out whether there is a presumption of abuse. Check the box that applies:

            B The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There Is no presumption of abuse. Go to Part 5.
            □ The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There Is a presumption of abuse. You may fill out
               Part 4 if you claim special circumstances. Go to Part 5.

            □ The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.
            'Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




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oebton      Carmen Victoria ValladareS'Egan                                                        Cmo miffibef{tknoMt)




   41.      41a. Fill In the amount of your total nonpriority unsecured debt If you filled out
                    A Summaty of Your Assets end UabXlles and Certefn StadstfcatInformation
                    Schedules(Official Foim lOfiSum),you may refer to line 3b on that fbim.             $
                                                                                                                   .25

                                                                                                                            Copy
            41b. 25% or your total nonpriority unsecured debt. 11 U.8.C.§707(b}(2KA)(IKI)                                   hereB>

                    Mulfiply tine 41a by 0.25

   42. Determine whether the Income you have left over after subtracting all allowed deductions Is enough to pay
       25% of your unsecured, nonpriority debt.
         Check the box that applies:

         □ Line 39d is less than line 41b. On the top of page 1 of this form, check box 1. There is no presumption ofalfuse.
            Go to Part 6.

         □ Line 39d Is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There Is a
            prasumpeon of abuse. You may fill out Part 4 If you claim special circumstances. Than go to Part 5.


               Give Details About Special Circumstances

43. Do you have any special circumstances that Justify additional expenses or adjustments of current monthly income for which there Is no
     reasonable alternative? 11 U.S.C. § 707(b}(2XB).


     B No. Go to Part 6.

     □ Yes. FID in the following Infonnafion. All figures should reflect your average monthly expense or income adjustment for each
               item. You may Indude expenses you listed in line 25.

               You must give a detailed explanation of the spedal circumstances that make the expenses or Income adjustments
               necessary and reasonable. You must also give your case trustee documentation of your actual expenses or Income
               ad^stments.


                 Give a detailed explanation of the special ctrcumstaneee                            Average monthly expense
                                                                                                   ; or Income adjustment




               Sign Below
             By signing here, I dedare under penalty of perjury that the information on this statement end In any attachments Is true and correct


               Xiamigir^ldorla                     res-Egan
                Signature of Debtor 1
         Date October 26.2021
                MM/DD /YYYY




Oflidai Form 122A-2                                                 Cliapter 7 Means Test Calculation                                               page 9
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 Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
 State Bar No.& Email Address
 Daniel King
 3435Wllsh(reBlvd
 Suite 1111
 Los Angeles,CA 90010
213-388-3887 Fax: 213-388-1744
California State Bar Number:207911 CA
dktng@theattomeygroup.com




□ Debtor(s) appearing without an attorney
 ■ Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.:
            Carmen Victoria Valladares-Egan
                                                                                  CHAPTER: 7




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1 (a)]

                                                              Debtorfs).

Pursuant to LBR1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) Is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility ^oLeoEors and omissions.
Date: October 26.2021
                                                                                        Signature of

Date:
                                                                                         Signature of Debtor 2 Qoint debtor)) (If applicable)

Date: October 26,2021                                                                   te/ Daniel King
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form Is optional. It has been approvsd for use In tha United States Bankruptcy Court for the Central District of California.
December 201S                                                                                      F 1007-1 .f\/IAILING.LIST.VERIFICATION
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                    Carmen Victoria Valladares-Egan
                    4337 W. 170th Street
                    Lawndale, CA 90260


                    Daniel King
                    The Attorney Group
                    3435 Wilshire Blvd
                    Suite 1111
                    Los Angeles, CA 90010


                    Bank Of America
                    Po Box 982238
                    El Paso, TX 79998


                    Bridgecrest
                    Po Box 29018
                    Phoenix, AZ 85038


                    Home Depot
                    P.O. Box 20363
                    Kansas City, MO 64195


                    Lvnv Funding Lie
                    C/o Resurgent Capital Services
                    Greenville, SC 29602


                        Macys/dsnb
                    Po Box 6789
                        Sio\ax Falls, SD 57117


                        Midland Credit Managem
                        320 East Big Beaver
                        Troy, MI 48083
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                    Midland Credit Management
                    P 0 BOX 60578
                    Los Angeles, CA 90060


                    Nordstrom/td Bank Usa
                    13531 E. Caley Ave
                    Englewood, CO 80111


                    Portfolio Recov Assoc
                    120 Corporate Blvd Ste 100
                    Norfolk, VA 23502


                    Shellpoint
                    55 Beattie Place
                    Greenville, SC 29601


                    Syncb/amazon
                    Po Box 965015
                    Orlando, PL 32896


                    Syncb/qyc
                    Po Box 965005
                    Orlando, PL 32896


                    Thd/cbna
                    Po Box 6497
                    Sioux Palls, SD 57117


                    The Bureaus Inc
                    650 Dundee Road
                    Northbrook, IL 60062
